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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

UNITED STATES OF AMERICA
v.
DAVID SIDOO, et al.,

Defendants.

Crim. No. 19-cr-10080-NMG

 

 

JOINT PROPOSED
PRE-TRIAL DISCLOSURE SCHEDULE
FOR TRIAL COMMENCING JANUARY 11, 2021

The Defendants in the trial scheduled to commence on January 11, 2021, Gregory Colburn,
Amy Colburn, I-Hsin Chen, Elisabeth Kimmel, William McGlashan, Jr., and Marci Palatella, and
the Government respectfully submit the proposed pre-trial disclosure and filing schedule for the

Court’s consideration. The parties believe that schedule outlined below will allow that trial to

proceed as scheduled.

 

Event

Trial January 11, 2021: Proposed Dates

 

Government Expert Disclosures

10/13: 90 days before trial

 

Reciprocal Discovery From Defendants

10/23: 80 days before trial

 

Government Exhibit/ Witness Lists

11/2: 70 days before trial

 

Defense Expert Disclosures

11/12: 60 days before trial

 

Defense Exhibit/ Witness Lists

12/2: 40 days before trial

 

Meet/Confer On Documents, Etc.

12/7: 35 days before trial

 

Rebuttal Expert Disclosures

12/11: 31 days before trial

 

All Parties Motions in Limine, Voir Dire,
Jury Instructions

12/15: 27 days before trial

 

All Responses to Motions in Limine,
Voir Dire, Jury Instructions,

 

12/22: 20 days before trial

 

 

WHEREFORE, the Defendants and the Government respectfully requests that this Court

CONCLUSION

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| Pilete., SDT 4/1/20

 
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adopt the proposed pre-trial disclosure schedule.

Respectfully Submitted,

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CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7,1

I, Cory S. Flashner, hereby certify that counsel did confer with counsel for the
government regarding this motion and t!.> government joins in this motion.

/s/ Cory S. Flashner
Cory S. Flashner

CERTIFICATE OF SERVICE

I, Cory S. Flashner, hereby certify that this document filed through the ECF system
will be sent electronically to the registered participants as identified on the Notice of Electronic
Filing (NEF) and paper copies will be sent to those indicated as non-registered participants on
May 12, 2020.

/s/ Cory S. Flashner
Cory S. Flashner

Dated: May 12, 2020

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